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UNITED STATES DISTRICT COURT me
WESTERN DISTRICT OF TEXAS rif g

 

 

EL PASO DIVISION
§
BRANDON CALLIER, §
§
Plaintiff, §
§
Vv. §
EMORTGAGE CAPITAL INC, a California §
Corporation § EP |
| EP22cv0099
§ i
Defendants. § i
§

 

PLAINTIFF’S ORIGINAL COMPLAINT

PARTIES

IP The Plaintiff is BRANDON CALLIER (“Plaintiff”) a natural person, resident of the
Western District of Texas, and was present in Texas for all calls, in this case in E] Paso County,
Texas.
os Defendant EMORTGAGE CAPITAL INC, (“Emortgage”) is a corporation organized and
existing under the laws of California and can be served via registered agent Joseph Shalaby at
939 E Santa Blvd Santa ana, California 92701.

JURISDICTION AND VENUE
3. Jurisdiction. This Court has federal-question subject matter jurisdiction over Plaintiff's
TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. Mims v. Arrow
Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has supplemental subject matter
jurisdiction over Plaintiff's claim arising under Texas Business and Commerce Code 302.101

because that claim arises from the same nucleus of operative fact, i.e., Defendants’ telemarketing
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robocalls to Plaintiff; adds little complexity to the case.
4, Personal Jurisdiction. This Court has general personal jurisdiction over the defendant
because they have repeatedly placed calls to Texas residents, and derive revenue from Texas
residents, and they sell goods and services to Texas residents, including the Plaintiff. Defendant
has a principal place of business in the State of Texas.
5. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2) because a
substantial part of the events giving rise to the claims—-the calls and sale of goods and services
directed at Texas residents, including the Plaintiff—occurred in this District and because the
Plaintiff resides in this District. Residing in the Western District of Texas when he received a
substantial if not every single call from the Defendants that are the subject matter of this lawsuit.
6. This Court has venue over the defendants because the calls at issue were sent by or on
behalf of the above-named Defendants to the Plaintiff, a Texas resident.

THE TELEPHONE CONSUMER PROTECTION ACT

OF 1991, 47 U.S.C. § 227

7. In 1991, Congress enacted the TCPA to restrict the use of sophisticated telemarketing
equipment that could target millions of consumers en masse. Congress found that these calls
were not only a nuisance and an invasion of privacy to consumers specifically but were also a
threat to interstate commerce generally. See S. Rep. No. 102-178, at 2-3 (1991), as reprinted in
1991 ULS.C.C.A.N. 1968, 1969-71.
8. The TCPA makes it unlawful “to make any call (other than a call made for emergency
purposes or made with the prior express consent of the called party) using an automatic
telephone dialing system or an artificial or prerecorded voice ... to any telephone number

assigned to a .,. cellular telephone service.” 47 U.S.C. § 227(b)(1 (A)Gii).

 

 
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9. The TCPA makes it unlawful “to initiate any telephone call to any residential telephone
line using an artificial or prerecorded voice to deliver a message without the prior express
consent of the called party unless the call is initiated for emergency purposes, is made solely
pursuant to the collection of a debt owed to or guaranteed by the United States or is exempted by
rule or order” of the Federal Communication Commission (“FCC”). 47 U.S.C. § 227(b)(1)(B).
10. The TCPA provides a private cause of action to persons who receive calls in violation of
§ 227(b). 47 ULS.C. § 227(b)(3).

11. Separately, the TCPA bans telemarketing calls without a do-not-call policy available
upon demand. 47 U.S.C, § 227(c); 47 C.F.R. § 64.1200(d)(1).!

12. The TCPA provides a private cause of action to persons who receive calls in violation of
§ 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

13. According to findings of the FCC, the agency vested by Congress with authority to issue
regulations implementing the TCPA, automated or prerecorded telephone calis are a greater
nuisance and invasion of privacy than live solicitation calls and can be costly and inconvenient.
14. The FCC also recognizes that “wireless customers are charged for incoming calls whether
they pay in advance or after the minutes are used.” In re Rules and Regulations Implementing
the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014, 14115 ¢ 165 (2003).

15. The FCC requires “prior express written consent” for all autodialed or prerecorded
telemarketing robocalls to wireless numbers and residential lines. In particular:[A] consumer’s
written consent to receive telemarketing robocalls must be signed and be sufficient to show that

the consumer: (1) received clear and conspicuous disclosure of the consequences of providing

 

' See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
(codifying a June 26, 2003 FCC order).

 

 
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the requested consent, i.e., that the consumer will receive future calls that deliver prerecorded
messages by or on behalf of a specific seller; and (2) having received this information, agrees
unambiguously to receive such calls at a telephone number the consumer designates. In addition,
the written agreement must be obtained without requiring, directly or indirectly, that the
agreement be executed as a condition of purchasing any good or service.

16. Inthe Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,
27 FCC Red. 1830, 1844 | 33 (2012) (footnote and internal quotation marks omitted). FCC
regulations “generally establish that the party on whose behalf a solicitation is made bears
ultimate responsibility for any violations.” In the Matter of Rules and Regulations Implementing
the Tel. Consumer Prot. Act of 1991, 10 FCC Red. 12391, 12397 § 13 (1995).

17. The FCC confirmed this principle in 2013, when it explained that “a seller ... may be
held vicariously liable under federal common law principles of agency for violations of either
section 227(b) or section 227(c) that are committed by third-party telemarketers.” [a the Matter
of the Joint Petition Filed by Dish Network, LLC, 28 FCC Red. 6574, 6574 4 1 (2013).

18. | Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569 F.3d
946, 951 — 52 (9th Cir. 2009).

19. A corporate officer involved in the telemarketing at issue may be personally liable under
the TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-10010, 2013 U.S. Dist.
LEXIS 159985, at *10 (£.D. Mich. Nov. 8, 2013) (“[M]any courts have held that corporate
actors can be individually liable for violating the TCPA where they had direct, personal
participation in or personally authorized the conduct found to have violated the statute.” (internal
quotation marks omitted))}; Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415 — 16 (D.

Md. 2011) (“If an individual acting on behalf of a corporation could avoid individual liability,

 

 
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the TCPA would lose much of its force.”).

FACTUAL ALLEGATIONS
20. Plaintiff has been on the National Do-Not-Call Registry since December 2007.
21. | Through information and belief Defendant uses an anonymous telemarketing company to
make phone calls on its behalf soliciting mortgage refinancing.
22. On March 2, 2022, at 1:07 PM Plaintiff received a phone call from 915-418-5816.
Plaintiff answered the phone and was met with delayed silence of about 3-4 seconds before
hearing an audible “beep” and being connected to a representative who identified herself as
“Jocelyn.”
23. The representative asked Plaintiff questions about his mortgage balance, monthly
payment, home value, credit score, and other information in order to qualify Plaintiff. The
representative indicated she was attempting to transfer Plaintiff but was unable to connect to the
agent.
24, On March 2, 2022, at 1:46 PM “Jocelyn” called again, and this time successfully
transferred Plaintiff to “James”. The Representative asked Plaintiff questions about his mortgage
balance, monthly payment, home value, credit score, and other information in order to qualify
Plaintiff.
25. The telemarketer did not properly identify the company for whom she worked.
26. Between March 2, 2022, and March 4, 2022, Plaintiff received an additional five (5)
phone calls and text messages from “James” from his direct number 949-954-6532.
27. Defendant employs, contracts, or authorizes telemarketing firms to make phone calls on
their behalf. These telemarketers use various spoofed caller IDs and knowingly and willfully

ignore Do Not Call lists in the marketing of services on behalf of Emortgage.

 
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28. Defendant did not send Plaintiff a copy of their internal DNC policy.

29. Table below displays calls made to Plaintiff by Defendant.

 

 

 

 

 

 

 

 

 

 

TABLE A
Number: Date Time Caller ID Notes

1 03/02/2022 | 1:07PM | 915-418-5816 | CALL FROM JOCELYN
2 03/02/2022 | 1:45PM — | 949-954-6532 | CALL
3 03/02/2022 | 1:46PM | 949-945-6532 | CALL
4 03/02/2022 | 1:57PM _ | 714-348-4031 | TEXT MESSAGE
5 03/02/2022 | 5:57PM = | 714-348-4031 | TEXT MESSAGE
6 03/02/2022 | 4:08PM | 714-348-4031 | CALL
7 03/03/2022 | 11:09 AM _ | 714-348-4031 | DECLINED CALL
8 03/04/2022 | 1:24PM | 714-348-4031 | MISSED CALL
9 03/09/2022 | 3:16PM | 714-348-4031 | MISSED CALL

 

 

 

 

 

 

30. Defendants initiated numerous unsolicited telephone calls, made unlawful telemarketing

sales pitches regarding mortgage refinancing.

31. | Each and every call was placed while knowingly ignoring the national do-not-call

registry. Each and every call was placed without training their agents/employees on the use of

an internal do-not-call policy

32. Plaintiff has limited data storage capacity on his cellular telephone. Incoming

telemarketing calls consumed part of this capacity.

33. No emergency necessitated the calls.

34. On information and belief, the Defendants did not train its agents who engaged in

telemarketing on the existence and use of any do-not-call list.

 

 
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35. Plaintiff sent a written Internal DNC Policy request to the Defendants at

customercare@emortgagecapital.com on March 14, 2022. No one ever sent Plaintiff a copy of

 

the internal DNC policy.
INJURY, HARM, DAMAGES, and ACTUAL DAMAGES
AS A RESULT OF THE CALLS
36. Defendants’ calls harmed the Plaintiff by causing the very harm that Congress sought to
prevent—a “nuisance and invasion of privacy.”
37. Defendants’ calls harmed Plaintiff by trespassing upon and interfering with Plaintiff’s
rights and interests in Plaintiff’s cellular telephone.
38. Defendants’ calls harmed Plaintiff by intruding upon Plaintiff’s seclusion.
39. Plaintiff has been harmed, injured, and damaged by the calls including, but not limited to:
reduced device storage, reduced data plan usage, anger, frustration, invasion of privacy, and
more frequent charging of my cell phone.
Plaintiff’s cell phone is a residential number
40. The calls were to Plaintiff’s cellular phone 4604 which is Plaintiffs personal cell phone
that he uses for personal, family, and household use. Plaintiff maintains no landline phones at his
residence and has not done so for at least 15 years and primarily relies on cellular phones to
communicate with friends and family. Plaintiff also uses his cell phone for navigation purposes,
sending and receiving emails, timing food when cooking, and sending and receiving text
messages. Plaintiff further has his cell phone registered in his personal name, pays the cell phone
from his personal accounts, and the phone is not primarily used for any business purpose.

Violations of the Texas Business and Commerce Code 305.053

41, The actions of the Defendants violated the Texas Business and Commerce Code 305.053
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by placing automated calls to a cell phone which violates 47 USC 227(b). The calls by Defendant
violated Texas law by placing calls with a pre-recorded message to a cell phone which violates 47
USC 227(c)(5) and 47 USC 227(d) and 47 USC 227(d)(3) and 47 USC 227(e).

42. The calls by the Defendants violated Texas law by spoofing the caller ID’s per 47 USC

227(e) which in turn violates the Texas statute.

1. FIRST CLAIM FOR RELIEF
(Violation of the TCPA “Sales Call/DNC” Prohibition, 47 C.F.R. § 64.1200(C))

1. Mr. Callier realleges and incorporates by reference each and every allegation set forth in
the preceding paragraphs.
2. Defendants called Plaintiff's private residential telephone number which was successfully
registered on the National Do-Not-Call Registry more than thirty-one (31) days prior to the calls,
in violation of 47 U.S.C. § 227(c)(3)(F), and 47 C.F.R. § 64.1200(c)(2).
3. Plaintiff was statutorily damaged at least eleven (11) times under 47 U.S.C. §
227(c}(3)(F) by Defendant by the telephone calls described above, in the amount of $500 per
call.
4. Plaintiff is entitled to an award of up to $1,500 in damages for each knowing or willful
violation of 47 U.S.C. § 227(c)(3)(F).

Il. SECOND CLAIM FOR RELIEF

(Telemarketing Without Mandated Safeguards, 47 C.E.R. § 64.1200(d))}

1. Mr. Callier realleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs.

 
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2. The foregoing acts and omissions of Defendants and/or their affiliates or agents
constitute multiple violations of FCC regulations by making telemarketing solicitations despite
lacking:

a. a written policy, available upon demand, for maintaining a do-not-cail list,
in violation of 47 C.F.R. § 64.1200(d)(1);?

b. training for the individuals involved in the telemarketing on the existence
of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);? and,

c. in the solicitations, the name of the individual caller and the name of the
person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §
64.1200(d)(4).4

3. Mr. Callier is entitled to an award of at least $500 in damages for each such
violation. 47 U.S.C. § 227(c)(5)(B).

4. Mr. Callier is entitled to an award of up to $1,500 in damages for each such
knowing or willful violation. 47 U.S.C. § 227(c)(5).

5. Mr. Callier also seeks a permanent injunction prohibiting Defendants and their
affiliates and agents from making telemarketing solicitations until and unless they (1) implement
a do-not-call list and training thereon and (2) include the name of the individual caller and AFS’s

name in the solicitations.

 

? See id. at 425 (codifying a June 26, 2003 FCC order).
3 See id. at 425 (codifying a June 26, 2003 FCC order).
4 See id. at 425 — 26 (codifying a June 26, 2003 FCC order).

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Hil. THIRD CLAIM FOR RELIEF

(Non-Emergency Robocalls to Cellular Telephones, 47 C.F.R. § 227(b)(1)(A)
2.

l. Mr. Callier realleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs.

2. The foregoing acts and omissions of Defendant and/or their affiliates or agents
constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making non-emergency
telemarketing robocalls to Mr. Callier’s cellular telephone without his prior express written

consent.

3. Mr. Callier is entitled to an award of at least $500 in damages for each violation
of 47 U.S.C. § 227(b)(3)(B).

4. Mr. Callier is entitled to an award of up to $1,500 in damages for each such
knowing or willful violation. 47 U.S.C. § 227(b)(3).

IV. FOURTH CLAIM FOR RELIEF:
Violations of The Texas Business and Commerce Code 305.053

1. Mr. Callier realleges and incorporates by reference each and every allegation set
forth in the preceding paragraphs.

2. The foregoing acts and omissions of Defendants and/or their affiliates or agents
constitute multiple violations of the Texas Business and Commerce Code 305.053, by making
non-emergency telemarketing robocalls to Mr. Callier’s cellular telephone numbers without his
prior express written consent in violation of 47 USC 227 et seq. Defendant violated 47 USC
227(d) and 47 USC 227(d)(3) and 47 USC 227(e) by using an ATDS that does not comply with
the technical and procedural standards under this subsection.

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3. Mr. Callier is entitled to an award of at least $500 in damages for each such
violation. Texas Business and Commerce Code 305.053(b)
4. Mr. Callier is entitled to an award of up to $1,500 in damages for each such

knowing or willful violation. Texas Business and Commerce Code 305.053(c).

V. PRAYER FOR RELIEF

WHEREFORE, Plaintiff Brandon Callier prays for judgment against the defendants
jointly and severally as follows:

A. Leave to amend this Complaint to name additional DOESs as they are identified
and to conform to the evidence presented at trial;

B. A declaration that actions complained of herein by Defendants violate the TCPA
and Texas state law;

C. An injunction enjoining Defendant and their affiliates and agents from engaging
in the unlawful conduct set forth herein;

D. An award of $1500 per call in statutory damages arising from the TCPA
intentional violations jointly and severally against the corporation for 9 calls.

E, An award of $1,500 in statutory damages arising from violations of the Texas
Business and Commerce code 305.053

F, An award to Mr. Callier of damages, as allowed by law under the TCPA;

G. An award to Mr. Callier of interest, costs, and attorneys’ fees, as allowed by law
and equity

H. Such further relief as the Court deems necessary, just, and proper.

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March 17, 2022

Respectfully submitted,

Hao»

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